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UNITED STATES DISTRICT COURT DReatenng Vargee Try ue tes

SOUTHERN DISTRICT OF NEW YORK

MR. TReMeLl LIPLLAmson /Ao-Se
COMPLAINT

-against- under the
Civil Rights Act, 42 U.S.C. § 1983
(Prisoner Complaint)

 

 

(In the space above enter the full name(s) of the plaintiff(s).)

 

Jury Trial: O Yes & No

(check one)

 

 

 

 

 

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(In the space above enter the full name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,

 

 

please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
as necessary.

Plaintiff Name MrTRremet. W? llfamson Peo-se
ID #
Current Institution Westchester CousTy al L.
Address _P.0.BoxX-10 /io \WJoad Ra
Valhalla, Newyork |0S95

B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption. Attach additional sheets of paper as necessary.

Defendant No. 1 Name DetecHive An lonini_____ __ Shield #_ AU L_
Where Currently Employed Mouar Vernon Polfce DegT

Address “Tio RoosevetT SQ 2 FL.
Mount Veenn New york 1OSSO

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Defendant No. 2 Name Detect fue Gaittin

Where Currently Employed
Address

 

 

GUAT Vernn New you (OSS0

Defendant No. 3 Name Dol pre Of

QO _ Shield # iagpes 3
Where Currently Employed Ths lO : >
Address AVYT  Veenon. fle FSO"

oul Ve Yeek JOSSO

Defendant No. 4 Name SeRGANT. ta CAR ,_ Shield # _ NA
Where Currently Employed P logal enon, bol ite bePr
Address “Two RoosevelT SQ Jad .
{Yurl Veanon New oak {OSSO

 
 

 

 

 

 

Defendant No. 5 Name : Shield #
Where Currently Employed
Address

II. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A, In what WEE did the events giving rise to your  claim(s) occur?
Soild Lncieleat Occur pn Various LecéTion Of Mount Veena
ei)

B. Where in the Samiummam did the events giving rise to your claim(s) occur?

Lacerion of euests ly has 70 Lesy 3% Street and Inside oF.

ny Kamike Apaetmest

Cc. What date and approximate time did the events giving rise to your claim(s) occur?

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D. Facts: Clairanr Seek

 

 

 

 

 

 

 

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Hil. Injuries:

If you sustained injuries related to Ve events 1 eR cerrMmest describe them Bela what medical treatment, if

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any, you required and received.

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IV. Exhaustion of Administrative Remedies:

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The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner
confined in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.” Administrative remedies are also known as grievance procedures.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

No _

Yes

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AFFIDAVIT OF Tremel Williamson

NEW YORK STATE )
yss
WESTCHESTER COUNTY )

Comes now, Tremel Williamson, your Affiant, being competent to
testify and being over the age of 21 years of age, after first
being duly sworn according to law to tell the truth to the facts
‘related herein states that he has firsthand knowledge of the
facts stated herein and believes these facts to be true to the
_best of his knowledge...

1. On January 20, 2015, as your affiant was walking up 3rd
street, passing /7th avenue, he entered the walkway of the Fire
Station on 3rd street.

2. Your Affiant observed a black Hyundai coming toward him, at
full speed.

3. The vehicle stopped directly in front of your Affiant. Detective
Antonini exited the vehicle and, without identifying himself,. told
your Affiant not to move.

4, At that point the alleged detective shackled your Affiant
without a valid warrant, breach of the peace, probable cause or
your Affiant's consent, in violation of clearly established law.

5. Your Affiant was then abducted and forced into the back seat
of the vehicle.

6. Your Affiant was then asked by the alleged Detective, if he had
house keys to 70 West 3rd Street.

7. Your Affiant responded, "No!", not knowing who I was talking
to, and informed Detective Antonini that he did not live there.

8. After closing the door to the vehicle, the alleged Detectives
drove to the back of 70 West 3rd Street.

9, At that point, Detective Antonini attempted to pull down your
Affiant's pants, until he seized the keys, without a valid and
lawful warrant, in violation of established law.

10. Your Affiant was then informed by Detective Griffin that he
had a warrant, although it was never shown to your Affiant.

11. During the ordeal, Detective Griffin got in the back seat of

the vehicle and in an intimidating and menacing manner, shined
his flashlight in your Affiant's face.

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12. At that point, alleged Officer Campo, badge 2003, in plain
clothes, came to the vehicle and informed Detective Griffin that
they got into the house, although it was without a valid or lawful
warrant or consent from anyone.

13. Your Affiant was then forcibly taken into the building by
the alleged officer and detective.

14. While in the lobby of the building, your Affiant observed
another officer with a police dog.

15. Upon requesting that the dog te moved because of his fear of
them, Officer Campo punched your Affiant in the face and banged his
head against the elevator door.

16. Your Affiant felt dizzy and everything seemed blurry momentarily
and I lost consciousness from the assault and battery of Officer
Campo.

17. When your Affiant was brought into his mother's home, he
observed that everyone was handcuffed.

18. At that point, your Affiant was brought to the bathroom and
sexually abused by Detective Antonini and Sergent‘ Fagan.

19, After Detective Antonini unbuckled the belt of your Affiant,
Sergent Fagan choked him and squeezed his testicles. Then Detective
Antonini performed a cavity search, sodomizing your Affiant by
puncturing his anus with his finger.

20. Your Affiant screamed due to the excruciating pain being inf-
licted resulting from the abuse and begged them to stop.

21. Your Affiant's family, became extremely concerned from the
screams and demanded to know what was going on. When your Affiant's
sister demanded to know what was happening, she was threatened by
Sergent Fagan with disorderly conduct.

22. Your Affiant demanded to see the search warrant . However, a
search warrant was never presented.

23. Your Affiant was then brought to an unknown place which he
later learned was the Mount Vernon Police Department.

24. Your Affiant alleges that the detectives acted under the
color of law and outside the law in violation of his unalienable
» substantive, and civil rights.

25. Upon arriving at the Mount Vernon Police Department, your

Affiant requested medical treatment because of the injuries he
sustained from the sexual and excessive abuse.

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26. The officers refused your Affiant's request for medical
attention.

27. Your Affiant was not immediately taken before a judicial officer
of competent jurisdiction, to determine whether the alleged arrest
was lawful or if there was probable cause for the alleged arrest
pursuant to clearly established law.

28. At all times, your Affiant did not engage in any conduct having
any tendency to cause any act of violance by any reasonable person
or person(s) nor did he intend to cause.any public inconvenience,
annoyance, alarm, or recklessly create a risk, thereof.

30. At all times mention, detectives Antonini and Griffin were not
engaged in serving or carrying out any criminal process nor did
they have lawful right to engage your Affiant.

31. All of the detectives, at all times related herein, acted wrongly,
recklessly,willfully and maliciously and “in concert" with additional
state officers showing a callous disregard of, and a deliberate
indifference toward your Affiant and rights protected and guaranteed
by the Constitution, with the direct intent and sole purpose of
injuring,,humiliating,vexing,oppressing and causing mental anguish

to your Affiant.

32. Your Affiant at all times had a reasonable expectation that
defendant(s) would abide by their oath of office and duties not to
violate the protection secured ‘in the FEDERAL CONSTITUTION and the
NEW YORK STATE CONSTITUTION.

Futher your Affiant say naught.

 

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t fam bhi : Y- 20-75
/ Signature Date

The use of notary below is for identification only and such use
Goes not grant any jurisdiction to anyone.

State of New York
County of Westchester

Subscribed and sworn to (or affirmed) before me on this ZC day of
April 2015 by Tremel Williamson, proved to me on the basis of
satisfactory evidence to be the natural person who appeared before
me.

THOMAS V RUGGI
NOTARY PUBLIC-STATE OF NEW YORK

No. 01RU6251 407
Notary Public Qualified in Westchester Gounty

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If YES, name the jail, prison, or other correctional facility where you were confined at the time of the events
. . . l . ( ) y
giving rise to your claim(s). |
rt A

 

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance procedure?
Yes —s—“‘ésé‘N Do Not Know xX.
C. Does the grievance procedure at the jail, prison or other correctional facility where your claim(s) arose

cover some or all of your claim(s)?
Yes sis NN K Do Not Know

If YES, which claim(s)?

 

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes —s—i(és NN KX

If NO, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

Yes No x

E. If you did file a grievance, about the events described in this complaint, where did you file the

prevance! Nm (Actions Jas dove by Municiple)

l. Which claim(s) in ‘this complaint did you grieve? "a
mt

 

2. What was the result, if any? NIA

 

3, What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
the highest level of the grievance process.

NIA
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F, If you did not file a grievance:
I. If there are any reasons why you did not file a grievance, state them here:
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2. If you did not file a grievance but informed any officials of your claim, state who you informed,

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when and how, and their response, if any: Airs ly

 

 

 

 

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative

remedies.
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You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

 

Vv. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that you
; 1

 

 

 

 

 

are seeking and the basis for such amount). ‘
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claims

 

 

 

VI. Previous lawsuits:
A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

Yes No X_

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B. If your answer to A is YES, describe each lawsuit by answering questions | through 7 below. (If there
is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using the same
format.)

Ll, Parties to the previous lawsuit:

Plaintiff AQ] A

Defendants

 

2. Court (if federal court, name the district; if state court, name the county)

 

Docket or Index number

 

Name of Judge assigned to your case

 

Approximate date of filing lawsuit

 

nN UA SP WwW

Is the case still pending? Yes ss No

 

If NO, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was there judgment
in your favor? Was the case appealed?)

 

 

 

 

 

 

 

On C. Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?
other ‘
claims Yes -—_— No KY

D. If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same format.)

 

 

 

 

 

 

 

 

1. Parties to the previous lawsuit:
Plaintiff n)] A
i
Defendants
2. . Court (if federal court, name the district; if state court, name the county) oo
3. Docket or Index number
4. Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending? Yes No
If NO, give the approximate date of disposition Kl
7. What was the result of the case? (For example: Was the case dismissed? Was there judgment

in your favor? Was the case appealed?)

 

 

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this P day of _ us ly , 20)S,
Signature of Plaintiff Ged Pre Se
Inmate Number Coomty Zh - IV7525/
Institution Address ipethnee Chuak hy “abl.
0. Rov-lo/10 Woon Ad.
Valfa\la, Neu) yank J0S%S

 

 

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide their
inmate numbers and addresses.

I declare under penalty of perjury that on this 2 day of ‘Suly —__, 20)8 I am delivering this

complaint to prison authorities to be mailed to the Pro Se Office of the United § States District Court for the

Southern District of New York.

oy /
Signature of Plaintiff: fof etacre— Fr: “SE

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Ma. Teemed L)? Heamson Peo Se

(In the space above enter the full name(s) of the plaintiff(s)/petitioner(s).)

 

cw)

~ against -

Moun Vernon. Pol Soe. Depre DT Grah, ) _ AFFIRMATION OF SERVICE
epet A meen * oF Fic Lonape aad

 

 

 

(In the space above enter the full name(s) of the defendant(s)/respondent(s).}

Ne The Le mel. Li Lhe OM SOA_, declare under penalty of perjury that I have

(name)

served a copy of the attached (fepl Beokdts Aet- e Cf. Se Cf OFS Doin
p Ro -S Ache: y LNT Rm~ 23 js (document you are serving)
upon S00 Hea ph - Uthrea desta kel whose address slonporATe.

 
 
    

(name of pi) served)

(Counsel Ch YY of Mount Vhwrabne lance 9. Cy Hell LOSSp

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(how you served document: For example - personal delivery, mail, overnight express, etc.)

Dated: mala! el
city) NY. Some Chere

7 tH 30 Signature!
— aap ls Valhalla County Fail Po.Boxlo

ddress

Vl gq Loy

City, State

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Zip Code

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Telephone Number

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